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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

                                                 )
 UNITED STATES SECURITIES                        )
 AND EXCHANGE COMMISSION,                        )
                                                 )
                       Plaintiff,                )       Civil Action No. 18-cv-5587
                                                 )
 v.                                              )       Judge John Z. Lee
                                                 )
 EQUITYBUILD, INC., et al.,                      )       Magistrate Judge Young B. Kim
                                                 )
                       Defendants.               )
                                                 )

            ORDER REGARDING SUMMARY PROCEEDINGS FOR GROUP 1

       The Court, having reviewed the Framing Report for Group 1 (Dkt. 1004) submitted by

Kevin B. Duff, as the receiver (“Receiver”) for Estate of Defendants EquityBuild, Inc.,

EquityBuild Finance, LLC, their affiliates, and the affiliate entities of Defendants Jerome Cohen

and Shaun Cohen, and having entered a minute entry approving the same (Dkt. 1005),

IT IS HEREBY ORDERED THAT:

       1.      Group 1 of the Claims Resolution Process shall include claimants who submitted

Proofs of Claim with respect to one or more of the following five properties:

            a. 3074 Cheltenham Place a/k/a 7836 S Shore Drive (Property No. 74)

            b. 7625‐33 S East End Avenue (Property No. 75)

            c. 7635‐43 S East End Avenue (Property No. 76)

            d. 7750‐58 S Muskegon Avenue a/k/a 2818‐36 E 78th Street (Property No. 77)

            e. 7201 S Constance Avenue a/k/a 1825‐31 E 72nd Street (Property No. 78)




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             2.      The Schedule of the Summary Proceedings for Group 1 is as follows:


                  Discovery Event                         Deadline Calculation             Deadline Date


Receiver to serve Order approving the Group         2 business days of Court’s entry of      July 9, 2021
                                                    Order commencing proceedings
                                                    for the Group

Receiver to serve approved standard discovery 2 business days of Court’s entry of            July 9, 2021
requests on all claimants included on the Email Order commencing proceedings
Service List for the Group                      for the Group

Deadline for Claimants to respond to standard 28 days from service of standard             August 6, 2021
discovery requests                            discovery requests

Additional discovery requests are due               14 days after deadline for             August 20, 2021
                                                    responses to standard discovery

Deadline for Claimants to respond to additional 28 days after service of additional September 17, 2021
discovery requests                              discovery requests

Deadline to complete Discovery                      120 days from the Order               November 4, 2021
                                                    commencing proceedings for the
                                                    Group

Receiver’s Disclosure of Avoidance Claims is due    14 days after completion of all November 18, 2021
                                                    discovery

Deadline for any of the lienholders to request leave 7 days after filing of Receiver’s November 25, 2021
of Court to take additional discovery relevant to the Disclosure of Avoidance Claims
Receiver’s claim

Position Statements by Claimants and SEC are due    21 days after filing of Receiver’s    December 9, 2021
                                                    Disclosure of Avoidance Claims

Receiver’s Submission regarding the claims and in 21 days after Claimants and SEC         December 30, 2021
support of any avoidance actions due              submissions

Claimants’ and the SEC’s Responsive Statements 14 days after the deadline for the          January 13, 2022
are due                                        Receiver’s Submission

Hearing on competing claims and any avoidance To be scheduled by the Court
claims


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                                          Entered: 7/8/21


                                          ______________________________
                                           John Z. Lee
                                           United States District Court Judge




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